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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   IN: RE JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS
   MARKETING, SALES PRACTICES AND
   PRODUCTS LIABILITY LITIGATION                   MDL DOCKET NO. 2738 (FLW) (LHG)

   This document relates to: Ashley
   Vandenbroeke, Case No. 3:18-CV-00572



                                     NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that the Short Form Complaint with Jury Demand was filed on January 12, 2018, on

  behalf of Plaintiff Ashley Vandenbroeke.




  Dated: January 16, 2018                    Respectfully Submitted by,

                                              /s/ Rolf T. Fiebiger

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on January 16, 2018, a copy of the foregoing NOTICE OF FILING

  was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic

  filing system to all parties indicated on the electronic filing receipt. Parties may access this filing

  through the Court’s system.



                                                   /s/ Rolf T. Fiebiger

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